






Opinion issued May 10, 2007










In The

Court of Appeals

For The

First District of Texas






NO. 01-06-00989-CV






MONA LISA DE LA PENA, Appellant


V.


HEALTH SOUTH CORPORATION, Appellee






On Appeal from the 190th District Court

Harris County, Texas

Trial Court Cause No. 2006-10170






MEMORANDUM OPINION	Appellant Mona Lisa De La Pena has neither established indigence, nor paid
all the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent), 20.1 (listing requirements for establishing indigence); see also Tex.
Gov't Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon 2006) (listing fees in court
of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  After being
notified that this appeal was subject to dismissal, appellant Mona Lisa De La Pena did
not adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).

	The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Keyes and Higley.


